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         Via CM/ECF

         July 6, 2023

         Hon. Kenneth M. Karas
         United States District Court
         300 Quarropas Street, Chambers 533
         White Plains, New York 106001-4150

         Re: Catherine Kassenoff v. Allan Kassenoff et al. 7:22-CV-002162-KMK

         Dear Judge Karas:

                This letter is a follow up to my letter dated June 5th with respect to the status of my client who
         reportedly died on May 27, 2023.

                I received a notification from the United States Consulate dated June 21, 2023 that my client
         died on May 27, 2023 in Liestal, Switzerland.

                 I am at present researching the effect of this development on further proceedings in this
         matter, as well as the pending appeal, given that all matrimonial proceedings abated upon her death
         including the interlocutory decision and order at issue.

                  Kindly advise how the Court would like to proceed.


                                                                Respectfully,


                                                                Harold R. Burke

         HRB/st

         cc.      Allan Kassenoff (kassenoffa@gtlaw.com)
                  Lisa Lynn Shrewsberry (lshrewsberry@traublieberman.com)
                  Wayne Baker (federallitigator@gmail.com)
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